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  M r.DillonHopper
  383 H azzard Street
  Scottsburg,IN 47170
Case 3:17-cv-00072-NKM-JCH Document 525 Filed 07/18/19 Page 3 of 5 Pageid#: 5872
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                                        Charlottesville D ivision

    ELIZM ETH SW ES eta1.,
           Plaintiffs,                                  CivilAction N o.3:17-cv-00072

                                                        ORDER TO DEFEN DAN T
                                                        VAN GUA RD A M ERICA

    JA SON K ESSLER eta1.,                              By:     JoelC.H oppe
                  Dçjkndants.                                   U nited StatesM agistrate Judge


           UnJuly2,2019,theCourtheldatelephonichearingon therecotd withPlaintiffs'
    counseland D illon Hopper,D efendantV anguard Am erica'sauthorized representative in this

    litigation,to identify V anguard A m erica's outstanding discovery obligétions,seta schedule for

    M r.Hopperto com ply w ith those obligations,and discussotherproceduralm atters.lSee Order

    ofJtm e21,2019,at2,ECF N o.508.M r.H opper,who appeared and participated asdirected,

    confrm ed thathe hasreceived each ofthe Orders,discovery requests,and Stored

    CommunicationsAct(iSCA'')consentformsthatexplainVanjuardAmerica'soutstanding
    discovery obligations.See id.at2-4.Accordingly,M r.H oppershallcom ply with the following

    stepsand deadlines:

       1. W ithin seven (7)days9om thedateofthisOrder:
               a. GivePlaintiffs'counselacompleteandaccurateSCA consentformts)allowing
                  Discord,Twitter,and any othersocialmediaproviderto produçeapy

                  discoverabledocumentsorelectronicallystoredinformation((dES1'')requestedby
                  Plaintiffs'counselin thislawsuit.SeeOrderofJune2l,2019,at3,
                                                                            'OrderofNov.
                   12,2018,at2,ECF N o.379.



    1OtherDefendantsalso appeared andpm icipated atthehearing.
                                                    1

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Case 3:17-cv-00072-NKM-JCH Document 525 Filed 07/18/19 Page 4 of 5 Pageid#: 5873




                                             .                                             %

               b. ExecutetheThird Party D iscovery V endorcontrac'
                                                                 tm entioned in the Stipulation

                  and Orderforthe Im aging,Preservation,and Production ofD ocum ents,ECF No.

                  383CtlmagingOrder'').SeeOrderofJune21,2019,a!3;OrderofMar.4,2019,
                  at2-3,ECF N o.440.

                  CompleteandgivetoPlaintiffs'counseltheCertification Form attached as

                  ExhibitA totheIm agingOrder.SeeOrderofJune21,2019,at3;OrderofM ar.
                  4,2019,at2-3.

            W ithinfourteen(14)daysfrom thedateofthis
                                                    'Order:
               a. M ake available to theThird Party D iscovely v endorforim aging and collection

                  anyElectrorlicDevicesorSocialM ediaAccountcredentialsidentifed irlth8

                  Certification Form.SeeOrderofJune21,2019,at3;OrdergfM ar.4,20194at3.

                  A fterthe Discovery V epdorhascollected a11ES1responsiveto theparties'

                  agreed-upon search term s,the Courtw illsetanotherdeadlineforV anguard

                  Am edca'soffker,director,orm anaging agentto review theresults and produce

                  a11nonprivileged m aterialsto Plaintiffs'counsel.See OrderofJtm e 21,2019,at3

                  n.2.

     -   J
         3...-W ithin-twenty-one(21)days9om thedateofthisOrder:
                  Providecompleteand accuratewritten answersto Plaintiffs'FirstSetof
                  lnterrogatories.See OrderofJune 21,2019,at3 & n.2;OrderofM ar.26,2018,at

                  3,ECF N o.287.

               b. Protide com pleté and accurate w ritten responsesto Plaintiffs'Requestsfor

                  Production ofD octlm ents,and produce orperm itinspection ofany requested




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 C ase 3:17-cv-00072-N KM -JC H Document517 Filed 07/03/19 Page 2 of3 Pageid#:5499
     Case 3:17-cv-00072-NKM-JCH Document 525 Filed 07/18/19 Page 5 of 5 Pageid#: 5874




                         docum entsorESIthatwerenotcollected by theDijcoveryVendor.SeeOrderof
                         Jtm e21,2019,at3 & n.2;OrderofM ar.26,2018,at3.

                 On Tuesday,July 30,2019,M r.H opper shallsitfor adeposition by Plaintiffs'counsel

             .   devoted exclusivelytobothhisandVanguardAmerica'sconductinpretrialdiscovery,

                 including their effortsto preserve any docm nents,inform ation,orm aterialsthatare

                 poténtially relevantto thislitigation.See OrderofJtm e 21,2019,at4.TheCourtexpects

                 thatM.
                      r.Hopperwillparticipatein good faith asrequiredbytheFederalRulesofCivil
                 Procedure and this Cburt'spriordiscovery orders.See id.at2.Plaintiffsaregiven leave

                 to depose M r.H opper in subsequentdepositionson the m eritsofPlaintiffs'allegations.
                              &                                                                       '

                 1d.at4;Fed.R'
                     '
                             .Civ.P.30(a)(2)(A)(ii).
                                  .
                 .


                 Itis so O RD ERED .




;
                 The Clerk shallsend a copy ofthis Ordetto theparties.

                                                            EN TER:July 3,2019

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                                                            JoelC.H oppe
                                                            U .S.M agistrate Judge


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      Case 3:17-cv-00072-NKM -JC H Docum ent517 Filed 07/03/19 Page 3 of3 Pageid#:5500
